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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re:

Bankruptcy No. 10-30894
v SBB

Chapter 7

GARY DAVID HAUCK, XXX-XX-3149

BRENDA KAY HAUCK, XXX-XX-OS l 2 Adversary Proceeding No.
Debtors,

10-01888-SBB
V.

STEPHANIE M. MARTIN_,

 

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Plaintiff, §
§

vs. m
GARY DAVlD HAUCK, and 53
BRENDA KAY HAUCK. m
Defendants. z
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PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
RE: ISSUE OF NONDISCHARGEABILITY WITH SUPPORTING AUTHORITY

 

COMES NOW the Plaintiff, Stephanie M. Martin, by and through her counsel,
Murray & Damschen, P.C., and hereby respectfully submits her Motion For Summary
Judgment Re: Issue Of Nondischargeability With Supporting Authority:
I. IN'I`RODUCTION
Plaintiff filed this adversarial proceeding seeking an order from this court
declaring that her claim against Debtors is exempt from discharge pursuant to the

provisions of ll U.S.C. § 523(a)(2), (4) and (6). Plaintiff respectfully submits that,

pursuant to FRCP 5 6, there is no genuine issue of material fact and, therefore, Plaintiff is

 

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entitled to judgment as a matter of law.]
II. LEGAL STANDARD

Pursuant to FRCP 56, a court shall grant summary judgment if the movant shows
that there is no genuine dispute as to any material fact and the movant is entitled to
judgment as a matter of law. Summary judgment under Rule 56 is proper if the
pleadings, depositions, answers to interrogatories, and admissions on flle, together with
the aftidavits, if any, show that there is no genuine issue as to any material fact and that
the moving party is entitled to a judgment as a matter of law. Celotex Corp. V. Calrelr,
477 U.S. 317, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986).

In the instant case, it is undisputed that Plaintiif has previously obtained a
judgment against Debtors in the District Court of Jefferson County, Colorado. For the
reasons set forth below, Plaintiff respectfully submits that this state court judgment
should be deemed to be preclusive With regard to the issue of dischargeability, thus
entitling Plaintiff to judgment as a matter of law.

III. FACTUAL BACKGROUND

On July 20, 2007, Plaintiff filed a civil action in the District Court of Jefferson
County, Colorado, (“State Action”) against Debtors alleging fraud and civil theft in
connection With Debtors’ purchase from Plaintiff in 2006 of a horne located in
Lakewood, Colorado (“Home”).2 ln her First Amended Complaint filed on December 21,
2007, Plaintiff asserted claims for Extreme and Outrageous Conduct, Deceit Based on
Fraud, Civil Conspiracy, and Civil Theft Pursuant to C.R.S. § 18-4-401. Plaintiff also

requested that a Constructive Trust be imposed on the Home.3 On March 25, 2009,

Plaintiff filed a Motion For Entry Of Default Judgment in the State Action. On April 30,

 

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2009, the Court in the State Action entered judgment in favor of Plaintiff and against
Debtors, jointly and severally, in the amount of ."1§516,520.30.4

On July 14, 2009, Debtors filed a Motion to Vacate Judgment and Set Aside
Default in the State Action. On August 3, 2009, the Court in the State Action entered an
order granting Debtors’ Motion, and on August 12, 2009, Debtors filed their Answer in
the State Action. The State Action Was subsequently set for a five-day jury trial
commencing on August 16, 2010.

On May 6, 2010, Plaintiff, Debtors and their respective legal counsel attended a
settlement conference presided over by a retired Colorado district court judge, the Hon.
Kim H. Goldberger. At the settlement conference, a settlement Was reached pursuant to
Which Debtors stipulated to the entry of a judgment against them, jointly and severally, in
the amount of $200,000.00 on Plaintiti’ s claims for deceit based on fraud and civil theft
pursuant to C.R.S. § 18-4-401 as stated in Plaintift’ s First Amended Complaint and Jury
Demand dated December 21, 2007.5 On May 14, 2010, the Court in the State Action
entered judgment in accordance with the stipulation of the parties.6

On August 17, 2010, Debtors filed their Voluntary Petition seeking relief under
Chapter 7. On November 12, 2010, Plaintiff commenced the instant adversarial
proceeding seeking an order declaring that Plaintist claims against Debtors are
nondischargeable pursuant to the provisions of ll U.S.C. § 523(a)(2), (4) and (6).

III. ARGUMENT

A. As They Relate To The Questiun Of Nondischargeability,
The Issues In The Colorado State Court Action And
The Instant Adversarial Proceeding Are Identical

 

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ln this adversarial proceeding, Plaintiff seeks a judicial determination from this
Court that Plaintiff" s state court claims and resultant judgment are nondischargeable
under 11 U.S.C. § 523 by operation of the doctrine of collateral estoppel (or issue
preclusion). In determining whether the judgment in the State Action is to be give
preclusive effect, this Court must determine whether the issues adjudicated in the
Colorado state court proceeding are identical to the issues in this adversarial proceeding
F or the reasons set forth below, Plaintif`f` respectfully submits that there is in fact an
“identity of issues” in the two proceedings and that, for this reason, there is nothing left
for this Court to examine other than the question of whether the remaining requirements
for issue preclusion have been satisfied

Section 523(a)(2)(A) of the Bankruptcy Code provides, in pertinent part, that a
discharge under § 727, 1141, l228(a), 1228(b) or 1328(b) of Title ll does not discharge
an individual debtor from any debt “for money, property, services, or an extension,
renewal, or refinancing of credit, to the extent obtained by (A) false pretenses, a false
representation, or actual fraud, other than a statement respecting the debtor’s or an
insider’s financial condition ...” To prevail in a § 523 (a)(2)(A) action, a Plaintiff must
establish the traditional aspects of common law f`raud: (1) the debtor made a false
representation to deceive the creditor; (2) the creditor relied on the misrepresentation; (3)
the reliance was justified; and (4) the creditor sustained a loss as a result of the
misrepresentation In re Bilzerz'an, 153 F.3d 1278, 1281 (11th Cir. 1998). The creditor
must establish each of the elements of fraud by a preponderance of the evidence. Grogan
v. Garner, 498 U.S. 279, 291 (1991).

In her Second Claim For Relief contained in her First Amended Complaint filed

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in the state court proceeding, Plaintiff asserted a claim under Colorado law for “deceit
based on frau ”. Speciiically, the Second Claim For Relief alleged that Debtors, and
each of them, made a representation of a past or present fact(s); that the fact(s) was
material; that at the time the representation(s) was made, Debtors, and each of them,
knew the representation was false; that Debtors made the representation(s) with the intent
that Plaintiff would rely on the representation(s); that Plaintiff relied upon the
representation(s); that Plaintiff s reliance was justified; and that such reliance has caused
injuries and damages to Plaintiff By virtue of stipulating to the entry of judgment on this
fraud-based claim, Debtors admitted that the allegations contained in this claim for relief
- which are essentially identical to the required elements in ln re Bilzerian, supra ~ had
been established As a result, the Colorado state court judgment establishes the requisite
elements of nondischargeability pursuant to § 523(a)(2)(A) for any debt for money
obtained by “false pretenses, a false representation_, or actual fraud ...”

Section 523(a)(4) of the Bankruptcy Code provides, in pertinent part, that a
discharge under section 727, 1141, 1228(a), 1228(b) or l328(b) of Title ll does not
discharge an individual debtor from any debt “for fraud or defalcation while acting in a
fiduciary capacity, embezzlement, or larceny ...” For purposes of § 523(a)(4), a
bankruptcy court is not bound by the state law definition of larceny but, rather, may
follow federal common law, which defines larceny a “felonious taking of another
person’s property with intent to convert it or deprive the owner of the same.” 4 Collier on
Bankruptcy jj 523.10[2] (15th ed. Rev. 2008).

In the Fourth Claim F or Relief contained in her First Amended Complaint filed in

the state court proceeding, Plaintiff asserted a claim for “civil theft” pursuant to C.R.S. §

 

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18-4-401. Specifically, the Second Claim For Relief alleged that Debtors, and each of
them, “knowingly obtained title to, and exercised control over, Plaintiff" s [home] and
Plaintiff s equity in the [home] by deception, and intended to permanently deprive
Plaintiff of the use or benefit of the [home] and Plaintiff s equity in the [home].” As with
the Second Claim For Relief based on “fraud by deceit”, Debtors, by virtue of stipulating
to the entry of judgment on Plaintiff’s claim based on “civil theft” pursuant to C.R.S. §
18-4-401, admitted that the allegations contained this claim for relief - which are
essentially the requirements for “larceny” under federal common law - had been
established As a result, the Colorado state court judgment establishes the requisite
elements of nondischargeability pursuant to Section 523(a)(4) for any debt for “larceny.” l

For the reasons set forth above, it is clear that the issues in the Colorado state
court proceeding were identical to those presented in the instant adversarial proceeding
In the state court proceeding, Debtors stipulated to entry of a judgment against them,
jointly and severally, on claims for “deceit based on fraud” and “civil theft” under
Colorado law, claims whose requisite elements are identical, or substantially identical, to
the requisite elements for debts for money or property obtained by “false pretenses, a
false representation, or actual Hau ” under § 523 (a)(Z)(A), as well as for debts for
“larceny” under § 523 (a)(4). Thus, Plaintiff has established the elements of
nondischargeability required pursuant to § 523 (a)(2)(A) and (a)(4).7

B. Collateral Estoppel Under Colorado Law

Although the bankruptcy courts retain exclusive jurisdiction to determine whether

a debt is non-dischargeable under 11 U.S.C. § 523 (a)(2) and 523(a)(4), the doctrine of

collateral estoppel may be invoked to bar relitigation of factual issues determined in a

 

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prior judgment See: In re Wallace, 840 F.2d 762, 764 (10th Cir. 1988). In determining
whether a prior state court judgment is to be given preclusive effect, a bankruptcy court
must look to the preclusion law of the state in which the judgment was rendered In re
Sukut, 357 B.R. 840 (Bankr. D. Colo. 2006). Since Plaintiff obtained her judgment in a
Colorado state courg this Court must apply Colorado law to determine whether the
judgment is to be given preclusive effect with regard to the issue of non-dischargeability

ln Bebo Constr. Co. v. Mattox & O’Brien, P.C., 990 P.ZD. 78 (Colo. 1999), the
Colorado Supreme Court set forth the four requirements which must be met for collateral
estoppel (or issue preclusion) to apply: (l) the issue to be precluded is identical to an
issue actually litigated and necessarily adjudicated in the prior proceeding; (2) the party
against whom estoppel is sought was a party to or was in privity with a party in the prior
proceeding; (3) there was a final judgment on the merits in the prior proceeding; and (4)
the party against whom the doctrine is asserted had a full and fair opportunity to litigate
`the issues in the prior proceeding Id. at 84-85. In the instant case, it is clear that the
second (identity of parties) and third (finality of judgment) elements of the Bebo test have
been satisfied; accordingly, this Court must determine whether the first and fourth
elements have likewise been satisfied

1. The Issue To Be Precluded Was Actually Litigated
In The Prior Proceeding

F or an issue to be actually litigated for purposes of collateral estoppel, the issue
must have been pled in the prior claim and a determination on that issue must have been
necessary to the prior judgment Bebo, supra, at 85. In a dischargeability proceeding, a

consent judgment or stipulation and agreement entered as a court order can be a final

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adjudication on the dischargeability issue and have collateral estoppel effects on a
bankruptcy court. ln re Austin, 93 B.R. 723 (Bankr. D. Colo. 1988). In a dischargeability
proceeding, the focus is placed on whether the debtor had an opportunity to present his
case or to litigate the relevant issues. Id. at 7 27. The issue need not be actually and fully
tried, provided the dispute proceeded through all phases of litigation appropriate to the
case, while providing full and fair protection of litigants’ rights ld. See also In re Riggle,
389 B.R. 167 (Bankr. D. Colo. 2007).

The bankruptcy court should look beyond the state court judgment to the entire
record from the state proceeding to ensure that all issues to be given preclusive effect
have been actually litigated and presented In re Dzmston, 146 B.R. 269 (D. Colo. 1992).
Where the party seeking to apply collateral estoppel presents evidence that the parties
engaged in a “mea.ningful assessment of the facts” and then the defendant made a
“conscious choice not to contest the entry of judgment”, a court may appropriately find
the issue was actually litigated ln re Sukut, 357 B.R. 834, 839 (Bankr. D. Colo. 2006);
Riggle, supra, at 175.

ln a foregoing section of this memorandum, Plaintiff has established the “identity
of issue” requirement for application of collateral estoppel. ln the instant case, it is also
clear that the “actually litigated” requirement has been met. In their First Amended
Complaint filed in state court on December 21 , 2007, Plaintiff asserted various claims for
relief against Debtors, including a claim for deceit based on fraud, and a claim for civil
theft pursuant to C.R.S. § 18-4-401. By Order dated April 30, 2009, Judge Lily 'W.
Oeffler entered default judgment against Debtors, jointly and severally, in the amount of

$516,520.30; said judgment included treble damages as provided for by C.R.S. 18-4-401.

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adjudication on the dischargeability issue and have collateral estoppel effects on a
bankruptcy court. ln re Austin, 93 B.R. 723 (Bankr. D. Colo. 1988). ln a dischargeability
proceeding, the focus is placed on whether the debtor had an opportunity to present his
case or to litigate the relevant issues. Id. at 727. The issue need not be actually and fully
tried, provided the dispute proceeded through all phases of litigation appropriate to the
case, while providing full and fair protection of litigants’ rights. Id. See also ln re Riggle,
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On July 14, 2009, however, Debtors, through counsel, filed a motion for relief nom the
April 30, 2009 default judgment, and the motion was briefed extensively by the parties
By Order dated August 3, 2009, Judge Geffler set the default judgment aside.

On May 6, 2010, the parties, represented by counsel, attended a settlement
conference with a retired Colorado state court judge, Kim H. Goldberger, at the offices of
Debtors’ legal counsel. At the conclusion of the settlement conference, the parties and
their respective counsel signed a Stipulation in which Debtors - again, represented by
counsel - agreed to the entry of j udgment against them, jointly and severally, and in favor
of Plaintiff, in the reduced amount of $200,000.00, said judgment being based upon
Plaintiff s Second Claim For Relief, Deceit Based On Fraud, and Fourth Claim For
Relief, Civil Theft pursuant to C.R.S. § 18-4-401.

The instant case is distinguishable from those cases, such as ln re Riggle, and In re
Sukut, in Which a court refused to provide preclusive effect to a default judgment on the
issue of non-dischargeability ln neither of these cases was there evidence that the debtor
had engaged in a “meaningfirl assessment” of the facts and made a “conscious choice” not
to contest the entry of judgment; in the instant case, by contrast, Debtors, after retaining
counsel and successfully setting aside the default judgment entered against them, agr_e_e_d
to the entry of a fraud-based judgment against them at the conclusion of a settlement
conference at which they were represented by counsel. Accordingly, it is clear that the
“actually litigated” requirement of the Bebo test has been satisfied

2. Debtors Had A Full And Fair Opportunity
To Litigate The Issue in the State Action

On the basis of the analysis set forth above, it is clear that the first three of the four

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required elements for application of collateral estoppel under Colorado law have been
met. Plaintiff respectfully submits that Debtors had a full and fair opportunity to litigate
the issue in the State Action, thus satisfying the fourth requirement for issue preclusion

under Colorado law.

As reflected in the Lexis Case History Search relating to the underlying State
Action, approximately two and one half years transpired between the filing of Plaintiffs
First Amended Complaint in December of 2007 and the entry of the stipulated judgment
in May of 201 0. During that period of time, Debtors clearly had a "full and fair
opportunity" to litigate the issue in the State Action. While the courts in ln re Sukut and
ln re Riggle, supra, declined to give the underlying judgments at issue in those cases
preclusive effect, the debtor in both of those cases essentially refiised to participate in the
underlying action. In the instant case, by contrast, Debtors took affirmative steps to
protect their interests before stipulating to the entry of the May 14, 2010 judgment in the
State Action. lndeed, the May 14, 2010 judgment was the second judgment entered
against Debtors in the State Action. After the initial default judgment was entered against
Debtors on April 30, 2009, Debtors directed their counsel to move to set aside the
judgment and, by order dated August 3, 2009, the Court agreed to do so. Approximately
three months before the scheduled trial date, Debtors, with the advice of counsel, elected
to stipulate to the entry of a judgment against them. Some nine months transpired
between the setting aside of the default judgment and the settlement conference which
resulted in the stipulation; during that time, Debtors clearly engaged in a "meaningful

assessment" of the facts and made a "conscious choice” not to contest the entry of a

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judgment against them in an amount significantly less than the default judgment

previously entered against them.

While the Tenth Circuit in Nz`chols v. Board of Counly Commissioners, 506 F.
3d 962 (lOth Cir. 2007) declined to provide preclusive effect to a consent judgment,
Plaintiff submits that Nichols is distinguishable on its facts. As a threshold matter, it
should be noted that Nz`chols did not address the issue of nondischargeability in a
bankruptcy proceeding Moreover, and more importantly, the settlement at issue in
Nichols was entered into by a third party and La Plata County, not the landowners who
sought to have the settlement accorded preclusive effect Thus, in Nichols, the court did
not examine whether the parties to the stipulation engaged in a "meaningful assessment"

of the facts and made a "conscious choice” not to contest the entry of judgment

ln conclusion, it is clear that, in the instant case, Debtors had a "full and fair
opportunity" to litigate the issue in the State Action. Debtors successfully moved to have
an earlier default judgment against them set aside, reflecting a clear intention to protect
their interests in the litigation Thus, the fourth and final requirement for issue preclusion
under Colorado law has been satisfied

IV. CONCLUSION

F or the reasons set forth above, Plaintiff respectfully submits that there is no
genuine issue of material fact and that she is entitled to judgment as a matter of law.
Debtors clearly engaged in a "meaningful assessment" of the facts and made a "conscious

choice” to allow the judgment to enter against them in the State Action. lnasmuch as the

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requirements for issue preclusion under Colorado law have been met Plaintiff is entitled
to an order pursuant to FRCP 56 declaring that Plaintiffs claims are exempt from
discharge under ll U.S.C. Section 523(a)(2) and (a)(4).

WHEREFORE, Plaintiff respectfully moves the Court for an order pursuant
to FRCP 56 declaring that her claims are exempt from discharge pursuant to ll U.S.C.

Section 523(a)(2) and (a)(4).

Respectfully submitted this 15th day of August, 2011.

MURRAY & DAMSCHEN, P.C.

s/Terrence P. Murray
Terrence P. Murray, Esq.

CO Bar No. 16127

Darrell D. B. Damschen, Esq.
CO Bar No. 23146

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CERTIFICATE OF SERVICE

l hereby certify that 1 served the foregoing document by transmitting a true copy
thereof via USPS to the following on this 15th day of August, 2011.

Kerii J. Atencio, Esq.

ROBERTS, LEVIN, ROSENBERG
1660 Wynkoop Street, Ste. 800
Denver, CO 80202

Attorneys for Defendants 7 f w ,

Original signature Terrence P. Murray .
on file at the law firm of Murray &
Damschen P.C. `

 

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Exhibit A

 

 

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28116757 11/18/2009 File 2007CV2646 Not Avai|ab|e, Reopen for Post Document filed in paper format- OMB
4:00 PM MST And MARTIN, Not Available- Judgment -no additional information is
Serve STEPHANIE M n/a available online
vs. HAUCK,
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28117774 11/18/2009 File 2007CV2646 Not Avai|ab|e, Minute Order Document filed in paper format- OMB
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28105572 11/18/2009 File 2007CV2646 Darrell D B Disclosure PLAINTIFF'S INITIAL RULE 26 0.1MB
11:37 AM And MARTIN, Damschen, Certificate (A)( 1) DISCLOSURES
MST Serve STEPHANIE M Murray &
vs. HAUCK, Damschen PC
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27985300 11/10/2009 File 2007CV2646 Darrell D B Notice Filed NOTICE OF SETTING FOR FIVE 0.5MB
3:14 PM MST And MARTIN, Damschen, (5) DAY JURY TRIAL on
Serve STEPHANIE M Murray & November 18, 2009 at 10am
vs. HAUCK, Damschen PC
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26568209 8/12/2009 File 2007CV2646 Joyce M Answer Answer (pd. $158 for answer 0.2MB
4:38 PM MDT And MARTIN, Bergmann, fee)
Serve STEPHANIE M Frascona
vs. HAUCK, Joiner
GARV D et al Goodman &
Greenstein PC
26408885 8/3/2009 File 2007CV2646 Lily Oeff|er, Order Granted w/ Comments (Order 0.1MB
2:49 PM MDT And MARTIN, CO Jefferson Granting Motion Pursuant to
Serve STEPHANIE M County Rule 60(b), C.R.C.P. to Vacate
vs. HAUCK, District Court Judgment and Set Aside Default
GARY D et al lst JD Judgment)
Linked to (1)
26380724 7/31/2009 File 2007CV2646 Terrence P Response RESPONSE TO MOTION TO 0.8MB
11:21 AM And MARTIN, Murray, VACATE JUDGMENT AND SET
MDT Serve STEPHANIE M Murray & ASIDE DEFAULT JUDGMENT
VS- HAUCK, Damschen PC Filing other ExHIBlTs A-c 0.3MB
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26343937 7/29/2009 File 2007CV2646 Joyce M Response Judgment Debtor Brenda 0.1MB
2:01 PM MDT And MARTIN, Bergmann, Hauck's Responses to Judgment
Serve STEPHANIE M Frascona Creditor's First Set of Rule 69
Joiner Interrogatorles

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vs. HAUCK, Goodman & Response Judgment Debtor Gary Hauck's 0.1MB
GARY D et al Greenstein PC Responses to Judgment
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Interrogatories
26126318 7/15/2009 File 2007CV2646 Joyce M Filing Other Exhibit C to Motion Pursuant to 0.1MB
3:01 PM MDT And MARTIN, Bergmann, Rule 60(b), C.R.C.P. to Vacate
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vs. HAUCK, Joiner Default Judgment
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26107086 7/14/2009 File 2007CV2646 Joyce M Motion Motion Pursuant to Rule 60(b), 0.2MB
4:11 PM MDT And MARTIN, Bergmann, C.R.C.P. to Vacate the
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10:35 AM And MARTIN, CO Jefferson ~ Linked to (1)
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24384590 3/25/2009 File 2007CV2646 Terrence P Motion for MOTION FOR ENTRY OF 0.1MB
4:28 PM MDT Only MARTIN, Murray, default DEFAULT JUDGMENT

STEPHANIE M Murray & judgment
VS- HAUCK, Damschen PC Filing other AFFIDAVIT oF sTEPHANIE M. 0.1MB
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ENTRY OF DEFAULT JUDGMENT
Proposed Order ORDER AND JUDGMENT 0.1MB
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23980463 2/27/2009 File 2007CV2646 Lily Oeffler, Order Order Granting 30 Day 0.1MB
11: 14 AM And MARTIN, CO Jefferson Extension
MST Serve STEPHANIE M County
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23918820 2/24/2009 File 2007CV2646 Darrell D B Response RESPONSE TO ORDER TO 0.2MB
12:20 PM Only MARTIN, Damschen, SHOW CAUSE
MST STEPHANIE M Murray &
vs. HAUCK, Damschen PC
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23539014 1/29/2009 File 2007CV2646 Lily Oeffler, Order Notice of Dismissa| for Failure 0.1MB
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11/13/2007 File
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vs. HAUCK,
GARY D et al

2007CV2646
MARTIN,
STEPHANIE M
vs. HAUCK,
GARY D et al

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vS. HAUCK,
GARY D et al

District Court
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Lily Oeffler,
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Terrence P
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Lily Oeffler,
CO Jefferson
County
District Court
lst JD

Order

Motion for
default

judgment
Proposed Order

Filing Other

Summons
Issued

Return of
Service

Summons
Issued

Return of
Service

Complaint -
Amended

Filing Other

RepOl't

Report

Minute Order

(Print)

Order

Order Granted with 0.1MB
Amendments re: motion for
entry of default; Default is
hereby entered in favor of
Plaintiff pursuant to C.R.C.P. 55
(a). Rather than hold a hearing
to establish damages, Plaintiff
must establish damages
through affidavits and follow
the procedures set forth in
C.R.C.P. 121 1-14. -- |wo
07/03/08

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Motion for entry of default 0.1MB

Order re: motion for entry of 0.1MB
default

Linked from (1)

Affidavit of Terrence P Murray
Esq - Exhibit A to Motion for
Entry of Default

Summons issued to Gary D
Hauck

Affidavit of service for summons 0.1MB
and first amended complaint
and jury demand was given to
Joe| Hauck personally for Gary
D Hauck on 12-22-2007
Summons issued to Brenda K
Hauck

Affidavit of service for summons 0.1MB
and Hrst amended complaint

and jury demand was given to

Joe| Hauck personally for

Brenda K Hauck on 12-22-2007

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First amended complaint and 0.1MB
jury demand (with exhibit A

Attached separate|y)

Exhibit A to First Amended 0.1MB
Complaint and Jury Demand

Status report 0.1MB
Status report 0.1MB

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available online

Order for status; The Court 0.1MB
orders parties to select a date
to appear for a status
conference: Plaintiff’s counsel is
to contact the Division One
C|erk at (303) 271-6110 within

5 days of this order. ---~|wo

Complaint and jury demand 0.1MB

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Exhibit B

 

 

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DISTRICT COURT, JEFFERSON COUNTY,
COLORADO

100 Jefferson County Parkway

Golden, CO 80401-6002

(303) 271-6110

 

Plaintiff:

STEPHANIE M. MARTIN
v.
Defendants: ‘ COURT USE ONLY A

GARY D. HAUCK and BRENDA K. HAUCK

 

 

Terrence P_ Murray, #16127 CaSC Numberl 07-CV-2646
Darrell D. B. Damschen, #23146
Murray & Damschen, P.C. Div: 1
Denver West Office Park

1536 Cole Boulevard, Building No. 4, Suite 335
Lakewood, Colorado 80401

Phone: 303-274-7752 Fax: 303-274-7942

Te madlawfirm.com

 

 

FIRST AMENDED COMPLAINT AND JURY DEMAND

 

 

 

COMES NOW the Plaintiff , Stephanie M. Martin, by and through undersigned counsel,
Murray & Damschen, P.C., and for her First Amended Complaint against the above-named
Defendants states and alleges as follows:

PARTIES AND VENUE
1. Plaintiff is an individual Who resides at 5821 West 7th Avenue, LakeWood,
Colorado.
2. Defendants are individuals Who reside at 2733 South Salida Street, Aurora,

Colorado. At all times material hereto, Defendants Were licensed real estate brokers in the State
of Colorado and Were legally married.

3. Venue is proper in the District Court of Jefferson County, Colorado in that the
real property Which is the subject Of this action is located in Jefferson County.

GENERAL ALLEGATIONS
4. Prior to October 2, 2006, Plaintiff Was the owner of record of two parcels of real

property, including a single-family home, known by street and number as 5821 West 7th Avenue,
Lakewood, Colorado (“the Property”). A legal description of the Property is attached hereto as

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Exhibit A.

5. In 2006, Plaintiff, Who is sixty years old and makes approximately $27,000.00 per
year Working at Target, Was experiencing difficulties making payments on her adjustable rate
mortgage on the Property which had risen to approximately $2400 per month. Plaintiff discussed
her situation With Defendants, Who stated to her that she likely could not qualify for a mortgage
loan from a traditional lender but instead Would likely have to obtain a loan from a “non-
traditiona ” lender who might charge loan fees as high as $40,000.00. Defendants proposed that
they “help” Plaintiff by purchasing the Property from her utilizing financing obtained by them,
with Plaintiff being granted an opportunity to rent the Property from Defendants and repurchase
the Property at a later date When Plaintiff could herself qualify for a mortgage in her own name.
In exchange for assisting Plaintiff in this fashion, Defendants told Plaintiff that they would agree
to charge her a “fee” of $20,000.00. Defendants also suggested that, in exchange for their
assistance, Plaintiff give them her late husband’s boat; Plaintiff agreed to these requests.

6. Prior to entering into any contract with Defendants, Plaintiff indicated to them
that her daughter Was willing to assist her in obtaining a more favorable mortgage on the
Property by co-signing on a loan. Defendants told Plaintiffs that Plaintiff’ s daughter could not do
so because she did not reside in Colorado. Plaintiff relied upon the information provided to her
by Defendants and, therefore, did not pursue refinancing the Property at a lower fixed interest
rate with the assistance of her daughter.

7. In September of 2006, Plaintiff entered into a contract With Defendant Gary D.
Hauck for the sale of the Property. The contract provided for a purchase price of $430,000.00 and
obligated Plaintiff to pay all closing costs up to $12,000.00. Defendant Gary Hauck, Who
prepared the contract, properly disclosed in paragraph 24 that he was a licensed real estate broker
but also inserted a statement that the Property “Was for sale by Owner,” which was not true as
Plaintiff had repeatedly advised Defendants that she did not Want to sell the Property and had
agreed to convey title to the Property to Defendants only on the condition that she be provided an
opportunity to repurchase the Property from them once her financial condition improved. The
contract also stated that Plaintiff had agreed to provide $138,000.00 in financing secured by a
promissory note (“the Note”) and second deed of trust (“the Deed of Trust”). The Note was to
have a term of forty years and provide for interest at only four percent, terms Which Were clearly
favorable to Defendant Gary Hauck.

8. Closing on the sale of the Property was held on October 3, 2006. The settlement
statement prepared prior to closing reflected that the buyers, who now included Defendant
Brenda K. Hauck, had obtained a new loan in the amount of $292,000.00 from Mortgage Lenders
Network USA, lnc. of Middletown, Connecticut. The settlement statement also reflected the
second mortgage to be carried by Plaintiff in the amount of $138,000.00.

9. The $292,000.00 in financing obtained by Defendants was in the form of an
adjustable rate mortgage with an initial rate of 8.6% with a monthly payment starting at

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$2,584.76, an amount greater than Plaintiff’s previous mortgage payment.

lO. Defendants took title to the Property by way of a warranty deed dated October 2,
2006. At all times prior to closing, Defendants, who had a confidential relationship with Plaintiff,
verbally assured Plaintiff that she remained the “true” owner of the Property and that, in the event
Plaintiff’s financial condition failed to improve, Defendants had agreed to sell the Property and
pay Plaintiff the net proceeds of the sale less the $20,000 “fee.” This “understanding” was never
reduced to writing by Defendants.

ll. In response to Plaintiff’ s request that she be permitted to remain on the Property
and her stated intention to repurchase the Property from Defendants, Defendants prepared a
Residential Rental/Lease Agreement (“Lease”) dated October 3, 2006. In connection with the
leasing of the Property to Plaintiff, Plaintiff’s elderly mother, who received $520.00 per month in
housing assistance from the City of Lakewood, executed a document directing that such
payments be made directly to Defendants. The Lease prepared by Defendants called for monthly
payments of $2,064.76, an amount representing the difference between Defendants’ monthly
payment on the first mortgage obtained by the them and the $520.00 in housing assistance
provided to Plaintiff’ s mother by the City of Lakewood.

12. The Lease prepared by Defendants was never signed by the parties. Defendant
Gary Hauck has previously and falsely told Plaintiff that he has a “signed copy” of the Lease.
Notwithstanding this fact, Plaintiff has made all of the payments called for in the Lease; in doing
so, however, Plaintiff has depleted all of her savings, including her 40l(k) account, and
essentially survives on several hundred dollars a month.

13. In early 2007, Plaintiff discovered that she could no longer take her mortgage
interest deduction, a ramification of the sale that was not explained to her by Defendants. As a
result, Plaintiff had insufficient funds to pay her tax liability, and currently owes the IRS more
than $1,000.00.

14. Immediately after closing, Defendants instructed Plaintiff to sign the $138,00().00
Note executed by Defendant Gary Hauck “paid in full.” When Plaintiff questioned why she
should do so, Defendants told her that it “had to be done,” but assured her that the Property was
still hers. While the Note includes an October 4, 2006 date next to Plaintiff s signature, Plaintiff
signed the note on October 3; Plaintiff was told by Defendants that the signature had to be dated
in this fashion “to make it look right.” While the Note contains a notary’s stamp next to
Plaintiff’s signature, the stamp does not indicate the date on which the document was signed.
Plaintiff has no recollection of a notary being present at the time she signed the Note. At no time
prior to October 4, 2006, had Defendants told Plaintiff that she would be required to sign the
Note “paid in full” immediately after closing, and Defendant Gary Hauck made no payments on
the Note. By exerting undue influence upon Plaintiff to sign the Note in this fashion, Defendants
knowingly and willingly obtained, by false pretenses, Plaintiff’ s significant equity in the

Property.

 

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15. Defendant Brenda Hauck had also prepared an “addendum” to the Lease which
purported to provide Plaintiff an option to repurchase the Property at the end of the Lease term
for $320,000.00. The term of the underlying Lease is itself ambiguous; while the Lease, in
paragraph (2), states that it is for a period of “one year,” it also states that its term will end on
October 31, 2008, with this date apparently changed and initialed by the parties. As alleged
above, the Lease was not signed by any of the parties, while the “Addendum” which purports to
provide Plaintiff a right to repurchase the Property was signed by Defendant Gary Hauck but not
by Plaintiff or by Defendant Brenda Hauck, who is, along with Defendant Gary Hauck, an owner
of record of the Property. On information and belief, Defendants knowingly and willingly failed
to sign the Lease and Addendum with the intent to deny Plaintiff a right to repurchase the
Property consistent with the earlier verbal discussions between the parties.

16. By themselves obtaining an adjustable rate mortgage with an unfavorable initial
interest rate of 8.6% and utilizing this monthly loan payment amount ($2,584.76) as a basis for
Plaintiffs monthly lease payment, Defendants have knowingly and willingly placed Plaintiff in a
financial position where she cannot afford to repurchase the Property. To avoid defaulting under
the terms of the Lease, Plaintiff has been forced to take in renters who pay $900.00 per month;
these renters occupy the majority of the Property.

17. On July 3, 2007, Plaintiff telephoned Defendant Gary Hauck to request that the
parties prepare and execute documents confirming Plaintiff’ s understanding of the nature of the
“sale” of the Property; Defendant Gary Hauck stated that he was prepared to “straighten things
out” but that Plaintiff’ s signature Was required on a “document” which, according to Defendant
Gary Hauck, she had inadvertently not been requested to sign at closing. Upon advising
Defendant Gary Hauck upon his arrival at the Property that she should not sign any document
presented to her by Defendants without having the document reviewed by her legal counsel,
Defendant Gary Hauck became enraged and, as he left the Property, threatened Plaintiff with a
statement to the effect that she had no choice but to sign the document no later than noon the
following day and that, if she continued in her refusal to do so, Defendants would refuse to make
payment on the mortgage obtained by them and would allow the Property to go into foreclosure
or would sell the Property and retain any profit from the sale.

18, The document which Defendant Gary Hauck had demanded Plaintiff to execute
was a release of the deed of trust previously executed by Defendant Gary Hauck relating to the
$138,0()0.00 promissory note upon which Plaintiff, as instructed by Defendants, had signed next
to the words “paid in full.” While Defendants had previously provided Plaintiff with
documentation that they were current on the underlying mortgage obtained by them, they had
stopped doing so.

19. Plaintiff suffered extreme emotional distress as a result of Defendants’ conduct,
and her mother was so distraught that she was taken to the emergency room for treatment
Defendant Brenda Hauck was also verbally abusive to Plaintiff, telephoning Plaintiff and telling

 

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her that she was “nothing more than a tenant.” Defendant Brenda Hauck also stated to Plaintiff
that contrary to Plaintiff’s understanding, Defendants would insist upon a “fee” of $20,000.00
every year in exchange for their “help.”

20. At the time of the transfer of title to the Property to Defendants, the Property had a
fair market value of approximately $43 5 ,0()0.00; Plaintiff owed approximately $254,000.00 to
the first mortgage holder; and Plaintiff’s equity in the Property was approximately $180,000.00.
Subsequently to the date Defendants fraudulently obtained title to the Property, Plaintiff and her
mother have collectively been required to pay approximately $39,000.00 in rent to Defendants.

21. At some point in late 2007, Defendants failed to make one or more mortgage
payments relating to the Property which they were obligated to make to their lender. Defendants
failed to make such payments notwithstanding the fact that Plaintiff was current on her rental
payments to Defendants and with the intent to cause extreme emotional distress to Plaintiff. As a
result of Defendants’ failure to make the required payments to their lender, the lender initiated
foreclosure proceedings against the Property in December of 2007. The commencement of such
foreclosure proceedings has caused extreme emotional distress to Plaintiff.

22. Defendants, and each of them, knowingly and wrongfully intended to deprive
Plaintiff of her title to, and equity in, the Property by, among other things:

A. stating to Plaintiff that she should convey title to the Property to them
under the guise of “helping” Plaintiff when they fully intended to retain
title to the Property for the purpose of selling or further encumbering the
Property for their own personal financial gain;

B. by exerting undue influence upon Plaintiff to sign the Note payable to
Defendant Gary Hauck “paid in full” when Plaintiff had in fact not
previously agreed to do so;

C. by obtaining a mortgage in their name at an excessive rate of interest and
utilizing the amount of the monthly payment thereof as a basis for
calculating Plaintiff’ s monthly payment under the terms of the Lease so as
to render it impossible for Plaintiff to repurchase the Property;

D. by failing to execute the Lease and Addendum with the intent to deny
Plaintiff an enforceable right to repurchase the Property; and

E. by exerting undue influence upon Plaintiff in an attempt to obtain
Plaintiff s signature on the release of deed of trust relating to the Note
executed by Defendant Gary Hauck.

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CLAIMS FOR RELIEF

FIRST CLAIM FOR RELIEF
(Extreme and Outrageous Conduct)

23. Plaintiff incorporates the allegations contained in paragraphs l through 22 above.
24. Defendants, and each of them, engaged in extreme and outrageous conduct.

25. Defendants, and each of them, did so recklessly or with the intent of causing
Plaintiff severe emotional distress.

26. Defendants’ conduct caused Plaintiff extreme emotional distress.

SECOND CLAIM FOR RELIEF
(Deceit Based on Fraud)

27. Plaintiff incorporates the allegations contained in paragraphs l through 26 above.
28. Defendants, and each of them, made a representation of a past or present fact(s).
29. The fact(s) was material.

30. At the time the representation(s) was made, Defendants, and each of them, knew
the representation was false.

31. Defendants made the representation(s) with the intent that Plaintiff would rely on
the representation(s).

32. Plaintiff relied upon the representation(s).

33. Plaintiff’ s reliance was justified
34. Such reliance has caused injuries and damages to Plaintiff.
THIRD CLAIM FOR RELIEF
(Civil Conspiracy)

35. Plaintiff incorporates the allegations contained in paragraphs l through 34 above.

36. Defendants agreed, by words or conduct, to accomplish an unlawful goal, or
accomplish a goal through unlawful means.

 

 

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37. One or more unlawful acts were performed to accomplish the goal, or one or more
acts were performed to accomplish the unlawful goal.

38. Plaintiff has suffered injuries and damages

39. Plaintiffs injuries and damages were caused by the acts performed to accomplish
the goal.

FoURrH CLAIM FoR RELIEF
(Civil Thert - c.R.s. §18-4-401)

40. Plaintiff incorporates the allegations contained in paragraphs 1 through 39 above.

41. Defendants, and each of them, knowingly obtained title to, and exercised control
over, the Property and Plaintiff’ s equity in the Property by deception, and intended to
permanently deprive Plaintiff of the use or benefit of the Property and Plaintiff’s equity in the
Property.

42. Pursuant to C.R.S. §18-4-405, Plaintiff is entitled to recover from Defendants
three times her actual damages, costs of this action, and reasonable attorney fees.

FIFTH CLAIM FOR RELIEF
(Constructive Trust)

43. Plaintiff incorporates the allegations contained in paragraphs l through 42 above.
44. Defendants had a confidential relationship with Plaintiff.
45. Defendants abused their confidential relationship with Plaintiffs.

46. Defendants acquired title to the Property under such circumstances that
Defendants may not in good conscience retain their beneficial interest in the Property.

47. Plaintiff is entitled under equitable principles to the imposition of a constructive
trust on the Property.

WHEREFORE, Plaintiff prays for judgment in her favor and against Defendants, jointly
and severally, as follows:

l. For imposition of a constructive trust on the Property;

2. For compensatory damages in an amount to be proven at trial;

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3. For treble damages pursuant to C.R.S. §18-4-405;

4. For interest as permitted by law;
5. For attorney fees and costs;
6. For such other and further relief as the Court deems just and proper.

PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.
Respectfully submitted this 21 st day of December, 2007.

MURRAY & DAMS HEN, P.C.
Original signature of Terrence P. Murray

By: on file at the law firm of Murray & Damschen. P.C.
Terrence P. Murray, Esq.
Attorney for Plaintiff
Plaintiff s address:

5 8221 West 7th Ave.
Lakewood, CO 80214

 

. ’{’»‘j‘ CaS€ZlO-OlSSS-SBB DOC#234 Filed:OS/lS/ll Enlered208/16/1113242256 PageSO Of39
L_ ,
PARCELA

THAT PART OF THE EAST ONE HALF OF THE NORTHWEST ONE QUARTER OF THE SOUTHWEST ONE
QUARTER OF THE SOUTHEAST ONE-QUARTER OF SEC'I`ION 1 TOWNSHIP 4 SOUTH, RANGE 69 WEST OF
THE 6TH PR]NCIPAL MERIDIAN, DESCRIBED AS FOLLOWS:

BEGINNING 243.3 FEET SOUTH AND 75 FEET EAST OF THE NORTHWEST CORNER OF THE EAST ONE HALF
OF THE NORTHWEST ONE QUARTER OE SECTION 1, TOWNSHIP 4 SOUTH, RANGE 69 WEST, RUNNING
THENCE EAST, PARALLEL WITH THE NORTH LINE OF SAID NORTHWEST GNE QUARTER OF THE
SOUTHEAST ONE QUARTER 93.8 FEET MORE OR LESS TO A POINT 163 FEET WEST OF THE EAST LINE OF
THE SOUTHWEST ONE QUARTER OF SAID SECTION 1, SAID POINT BEING THE TRUE POINT OF
BEGINNING, THENCE NORTH, PARALLEL WITH SAID EAST LINE AND 163 FEET WESTERLY THEREFROM
18.3 FEET, MORE OR LESS, TO THE SOUTHWEST CORNER OF THE NORTH 225 FEET OF THE WEST 75 FEET
OF THE EAST 163 FEET OF THE NORTHWEST ONE QUARTER OF THE SOUTHWEST ONE QUARTER OF THE
SOUTHEAST ONE QUARTER OF SECTION 1, TOWNSHIP 4 SOUTH, RANGE 69 WEST, THENCE EAST
PARALLEL WITH THE NORTH LINE OF THE SOUTHWEST ONE QUARTER OF THE SOUTHEAST ONE
QUARTER OF SAID SECTION, 75 FEET TO THE WEST LINE OF THE EAST 88 FEET OF THE NORTHWEST ONE
QUARTER OF THE SOUTHWEST ONE QUARTER OF THE SOUTHEAST ONE QUARTER OF SECTION 1,
THENCE SOUTH ALONG SAID WEST LINE 140.2 FEET MORE OR LESS TO THE NORTH LINE OF WEST
SEVENTH PLACE AS ESTABLISHED BY DOCUMENT RECORDED OCTOBER 2, 1956 IN BOOK 1022 AT PAGE
23 OF THE JEFFERSON COUNTY RECORDS, THENCE WEST ALONG SAID NORTH LINE 75 FEET, THENCE
NORTH 121.9 FEET MORE OR LESS, TC) THE TRUE POINT OF BEGINNING, COUNTY OF JEFFERSON, STATE
OF COLORADO.

PARCEL B

THAT PART OF THE EAST ONE HALF OF THE NORTHWEST ONE QUARTER OF THE SOUTHWEST ONE
QUARTER OF THE SOUTHEAST ONE QUARTER OF SECTION 1, TOWNSHIP 4 SOUTH, RANGE 69 WEST OF
THE 6TH PRINCIPAL MERIDIAN, DESCRIBED AS FOLLOWS:

BEGINNING AT A POINT ON THE SOUTH LINE OF THE NORTH ONE HALF OF THE SOUTHEAST ONE
QUARTER OF THE NORTHWEST ONE QUARTER OF THE SOUTHWEST ONE QUARTER OF THE SOUTHEAST
ONE QUARTER OF SAID SECTION 1, 495.1 FEET MORE OR LESS SOUTH AND 75 FEET EAST OF THE
NORTHWEST CORNER OF THE EAST ONE HALF OF THE NGRTHWEST ONE QUARTER OF THE
SOUTHWEST ONE QUARTER OF THE S()UTHEAST ONE QUARTER OF SECTION 1, RUNNING THENCE
EASTERLY ALONG SAID SOUTH LINE 169.9 FEET MORE OR LESS TO A POINT ON THE WEST LINE OF THE
EAST 88 FEET OF THE NORTHWEST ONE QUARTER OF THE SOUTHWEST ONE QUARTER OF THE
SOUTHEAST ONE QUARTER THAT LIES 495.2 FEET MORE 0R LESS SOUTH OF THE NORTH LINE OF THE
SOUTHWEST ONE QUARTER OF THE SOUTHEAST ONE QUARTER OF SAII) SECTION; THENCE NORTH,
PARALLEL WITH THE EAST LINE OF THE NORTHWEST ONE QUARTER OF THE SOUTHWEST ONE
QUARTER OF THE SOUTHEAST ONE QUARTER AND 88 FEET WESTERLY THEREFROM 80 FEET MORE OR
LESS TO THE SOUTH LINE OF WEST SEVENTH PLACE AS ESTABLISHED BY DOCUMENT RECORDED
OCTOBER 2, 1956 IN BOOK 1022 AT PAGE 23 OF THE_JEFFERSON COUNTY RECORDS, THENCE WEST
ALONG SAID SOUTH LINE 101.17 FEET; THENCE NORTHWESTERLY ON A DEFECTING ANGLE OF 23
` DEGREES TO THE RIGHT 71.51 FEET MORE OR LESS TO THE EAST LINE OF THE WEST 75 FEET OF THE
~EAST ONE HALF OF THE NORTHWEST ONE QUARTER OF THE SOUTHWEST ONE QUARTER OF THE
SOUTHEAST ONE QUARTER OF SAID SECTION; THENCE SOUTH, ALONG SAID EAST LINE 110 FEET MORE
OR LESS TO THE POINT OF BEGINNING, COUNTY OF JEFFERSON, STATE OF COLORADO
as known by street and number as: 5821 West 7th Avenue, Lakewood, CO 80215

EXHIBIT

A

 

 

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Transaction ID:
Submitted by:
Authorized by:
Authorize and file on:

LexisNexis File & Serve Transaction Receipt

17764413

Darrell Damschen, Murray & Damschen PC
Terrence P Murray, Murray & Damschen PC
Dec 21 2007 11:44AM MST

 

Court:
Division/Courtroom:
Case C|ass:

Case Type:

Case Number:

Case Name:

CO Jefferson County District Court lst JD
1 - Division 1

Civil

Fraud

2007CV2646

Martin vs Hauck

 

Transaction Option:
Bil|ing Reference:

File Only
S. Martin

 

Documents List
2 Document(s)
Attached Document, 8 Pages Document ID: 12689728 PDF Format l Oriciina| Format

Document Type: Access: Statutory Fee: Linked:
Complaint - Amended Public $0.00

Document tit|e:
First amended complaint and jury demand

Attached Document, 1 Pages Document ID: 12689851
Re|ated Document ID: 12689728

Document Type: Access: Statutory Fee: Linked:
Filing Other Public $0.00

Document tit|e:

Exhibit A to First Amended Complaint and Jury Demand

Close Al|
§ Sending Parties (1)

Party Party Type Attorney Firm Attorney Type
Martin, Stephanie M Plaintiff Murray, Terrence P Murray & Damschen PC Privately Retained Attorney

§§ Recipients (0)
§§ Service List (0)

Delivery Option Party Party Type Attorney Firm Attorney Type Method
No selections made.

§ Additionai Recigients (0)

PDF Format | Oriqina| Format

fn Case Parties

 

Party . .l. e
Party Type Attorney Firm Attorney yp
Hauck Brenda K Defendant Pro Se Pro Se- N/A
Hauckl Gary D Defendant Pro Se Pro Se- N/A
Martinl Stephanie . . Murray, Terrence Privately Retained
M Plaintiff P Murray & Damschen PC Attorney
NULL N/A Oeff|er, Lily §Il§) Jefferson County District Court lst Primary Judge

https ://w3 .fileandserve. lexisnexis. com/WebServer/WebPages/F ileAndServe/prcReviewS . .. 1 2/ 2 l / 2007

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Exhibit C

 

 

 

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GRANTED The moving party is hereby ORDERED 0
to provide a copy of this Order to any pro aj #(/`
se parties who have entered an

appearance in this action within 10 days
from the date of this order.

 

 

Lily W. Oeffler

Jefferson District Court Judge
DISTRICT COURT, JEFFERSON COUNTY’ DATE OF ORDER INDlCATED ON ATTACHMENT
COLORADO

100 Jefferson County Parkway
Golden, CO 80401-6002

(303) 271-6110

 

 

 

 

 

 

 

 

 

Plaintiff:

STEPHANIE M. MARTIN

v.

Defendants:

GARY D. HAUCK and BRENDA K. HAUCK

‘ COURT USE ONLY ‘

 

 

Terrence P. Murray, #16127 Case Number: 07-CV-2646

Darrell D. B. Damschen, #23146
Murray & Damschen, P.c. Div: l
Denver West Office Park

1536 Cole Boulevard, Building No. 4, Suite 335
Lakewood, Colorado 80401

Phone: 303-274-7752 Fax: 303-274-7942

Te madlawfirm.com

[PROPOSED] ORDER AND JUDGMENT

 

 

 

 

 

This matter comes before the Court on Plaintiff’s Motion for Entry of Default Judgment.
The Court, having considered Plaintiff’ s Motion and supporting Affidavits, hereby GRANTS
said Motion and enters judgment, jointly and severally, against Defendants Gary D. Hauck and
Brenda K. Hauck and in favor of Plaintiff Stephanie M. Martin in the total amount of
$516,520.30, said sum representing the following: $152,298.57 for sums converted by theft plus
prejudgment interest thereon in the amount of $32,078.43; for additional statutory damages in
the amount of $304,597.14 pursuant to C.R.S. § 18-4-405 (as amended); and for attorney fees
and costs in the amount of $26,775.75 and $770.41, respectively

Plaintiff shall set a hearing on Plaintist claim for noneconomic damages.

DONE this 25th day of March, 2009.

 

District Court Judge

 

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Court: CO Jefferson County District Court lst JD
Judge: Lily Oeffler
Alternate Judge: Unassigned

File & Serve
Transaction ID: 24384590

Current Date: Apr 30, 2009
Case Number: 2007CV2646
Case Name: MARTIN, STEPHANIE M vs. HAUCK, GARY D et al
Court Authorizer: Lily Oeffler

 

/s/ Judge Lily Oeffler

 

 

 

 

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Exhibit D

 

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[] County Court 133/District Court

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Plaintiff q Case NO_ U?"“ CU"` zécf[é

VS.

WD./~JMJ<MMK.A/a/e/r

Defendant

Division a-

 

 

STlPuLATioN
The Parties agree as follows Date/dark S¢Wl,~¢c 94 9>\6 ,z,,e~¢e,, 0
MWY"C}%MO. WH< MM
UW»M‘ J) /W" //¢;r;‘¢Q/W Dzr/(d»d d:/¥;;w oaa dod
WMQM MmW/aa<c@.~ra wl
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Plaintiff 0}' De an
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Attorney for Plaintiff CAttorrfey for Defendant "’
/l//si§/ 20 /z)

 

Signed t is day of .
L/Z@/%@\ _ wade a a M;~M
Kim H. Goldberger, Mediator WD`f/W/%::LWWS ky

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Exhibit E

 

 

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* 1

 

     

""`=‘" ~ The moving party is hereby oRi)i;Ri:l)
SO to provide a copy of this Order to any pro ` aj O#¢"
ORDERED se parties who have entered an
appearance in this action within 10 days
from the date of this order.

 

 

 

 

Lily W. Oeffler
Jefferson District Court Judge
D[STR[CT COURT’ JEFFERSON COUNTY', DATE OF oRDER INDICATED on ATTACHMENT

 

 

 

 

 

COLORADO

100 Jefferson County Parkway
Go|den, CO 80401-6002
(303)271-6110

 

Plaintiff:
STEPHAN|E M. MARTIN

v.
Defendants: ‘ COURT USE ONLY A

GARY D. HAUCK and BRENDA K. HAUCK

 

 

Terrence P. Murray, #16127 Case Number: 07-CV-2646
Darrell D. B. Damschen, #23146
Murray & Damschen, P.C. Din l
Denver West Off`ice Park

1536 Cole Boulevard, Building No. 4, Suite 335
Lakewood, Colorado 80401

Phone: 303-274-7752 Fax: 303-274-7942
Terry@madlawfirm.com

 

 

 

 

JUDGMENT

 

This matter came before the Court on Plaintiff"s Request for Entry of Stipulated
Judgment. The Court, having reviewed the Parties’ Stipulation, hereby entersjudgment against
Defendants Gary D. Hauck and Brenda K. Hauck, jointly and severally, and in favor of Plaintiff
Stephanie M. Martin in the amount of` $200,000.00, said entry of judgment being based upon
Plaintiff" s 2“d Claim for Reliet`, Deceit Based on Fraud, and 4"‘ Claim for Relief, Civil Theft
pursuant to C.R.S. §18-4-401, as stated in the Plaintist First Amended Complaint and Jury
Demand, filed December 21, 2007.

DONE this day of May, 2010, nunc pro tunc, May 6, 2010.

 

District Court Judge

 

vt

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Cou rt:
Judge:

File & Serve
Transaction lD:

Current Date:
Case Number:
Case Name:

Court Authorizer:

Tlm'§ doi:‘txmeu§ constimte§ a ruling of the court and ~;hould be desired as micli,

CO Jefferson County District Court lst .lD
Lily Oeff|er

31026360

May 14, 2010

2007CV2646

MART|N, STEPHANIE M vs. HAUCK, GARY D et al
Lily Oeft`ler

 

 

/s/ Judge Lily Oeff|er

 

 

 

